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                                                                        USDC SDNY
                                                                        DOCUMENT
UNITED STATES DISTRICT COURT                                            ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                           DOC #:
 -------------------------------------------------------------- X       DATE FILED: 10/15/2020
  FAHRUELDIN EBED,                                              :
                                                                :
                                              Plaintiff,        :
                                                                :
                            -against-                           :          19-cv-11068 (VEC)
                                                                :
 MOUNT SINAI ST. LUKE’S HOSPITAL,                               :                ORDER
 RIGHTSOURCING, INC., AMN ALLIED                                :
 SERVICES, LLC D/B/A/ MED TRAVELERS,                            :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 15, 2020, the parties called chambers to discuss a discovery

dispute;

        IT IS HEREBY ORDERED THAT:

        1. A teleconference will be held on October 19, 2020 at 11:00 a.m. The parties must

             appear for the conference by dialing 888-363-4749, using the access code 3121171,

             and the security code 1068.

        2. The parties are directed to submit a joint letter detailing the issues in dispute no later

             than October 18, 2020. The parties are directed to meet and confer for at least one

             hour to attempt to resolve these disputes and certify in the joint letter that they did so.



SO ORDERED.

                                                                    ________________________
Date: October 15, 2020                                                 VALERIE CAPRONI
      New York, New York                                             United States District Judge
